                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No.:    2:10-CR-110
                                                )
MANUEL PEREZ BURELO                             )

                           MEMORANDUM AND ORDER

      This criminal case is before the court on the defendant’s pro se motions for

sentence reduction [docs. 1152, 1166, 1249], which have been rendered moot by the

supplemental motion filed by counsel [doc. 1250]. Through counsel, the defendant asks

the court to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) and in accordance

with Amendments 782 and 788 to the United States Sentencing Guidelines Manual

(“U.S.S.G.”).   The government has responded [doc. 1251], deferring to the court’s

discretion whether and to what extent to grant any such reduction, subject to the

limitations of 18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10.

I.    Authority

      “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation

and quotation marks omitted).      One such exception is identified in 18 U.S.C. §

3582(c)(2):




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       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission . . . , the court may reduce the term
       of imprisonment, after considering the factors set forth in [18 U.S.C.]
       section 3553(a) to the extent that they are applicable, if such a reduction is
       consistent with applicable policy statements issued by the Sentencing
       Commission.

       In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.” Dillon v. United States, 560 U.S. 817, 827 (2010) (internal

quotation marks and citation omitted); see also U.S.S.G. § 1B1.10(b)(1) (2016).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S.S.G. app. C,

amend. 782 (2014). Amendment 788, which also became effective on November 1,

2014, identified Amendment 782 as retroactive. See id., amend. 788.

       Other than substituting Amendment 782 for the corresponding provision

applicable when the defendant was originally sentenced, the court “shall leave all other

guideline application decisions unaffected.” See U.S.S.G. § 1B1.10(b)(1) (2016).        The

court “shall not” reduce a defendant’s term of imprisonment to a term “less than the

minimum of the amended guideline range,” nor to a term “less than the term of




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imprisonment the defendant has already served.”           Id. § 1B1.10(b)(2)(A), (C). 1      In

addition, the commentary to guideline 1B1.10 provides that a court must also consider

the § 3553(a) sentencing factors and the danger to the public created by any reduction in

a defendant’s sentence. See id. cmt. n.1(B). A court may further consider a defendant’s

post-sentencing conduct. See id.

II.    Factual Background

       By judgment dated July 5, 2012, this court sentenced the defendant to a 132-

month term of imprisonment as to Count One (a cocaine conspiracy). The defendant’s

guideline range was 151 to 188 months, based on a total offense level of 34 and a

criminal history category of I. The court granted the defendant’s motion for downward

variance and imposed a sentence below the guideline range. According to the Bureau of

Prisons, the defendant is presently scheduled for release on June 13, 2020.

III.   Analysis

       Applying Amendment 782, the defendant’s new guideline range is 121 to 151

months, based on a total offense level of 32 and a criminal history category of I. Thus,

the defendant was originally sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission.

       The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of
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          Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” Id. § 1B1.10(b)(2)(B). No such motion was filed as to the present
defendant.
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any reduction in the defendant’s sentence, the seriousness of the defendant’s offense, the

defendant’s post-sentencing conduct, and the need to protect the public. See id. § 1B1.10

cmt. n.1(B)(ii). Having done so, the court finds that the defendant should be granted a

sentence reduction. 2

       The court does note that the defendant has committed two disciplinary infractions

while incarcerated, including pushing a cart containing sixty-one dollars’ worth of stolen

fish and bologna.       However, those matters have been sufficiently addressed by the

Bureau of Prisons and are not grounds to deny the requested relief.

IV.    Conclusion

       For the reasons stated herein, the defendant’s pro se motions for sentence

reduction [docs. 1152, 1166, 1249] are DENIED AS MOOT and the supplemental

motion filed by counsel [doc. 1250] is GRANTED.                 The defendant’s term of

imprisonment is reduced to 121 months.

       Except as provided above, all provisions of the judgment dated July 5, 2012, shall

remain in effect.

              IT IS SO ORDERED.

                                                         ENTER:



                                                                s/ Leon Jordan
                                                          United States District Judge

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  The reduced sentence cannot, however, include a downward variance (unrelated to substantial
assistance) below the new guideline range, even though a variance was previously granted at
sentencing. See United States v. Taylor, 815 F.3d 248 (6th Cir. 2016).
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